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 8                                         UNITED STATES DISTRICT COURT
 9                                        EASTERN DISTRICT OF CALIFORNIA
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11    MAX INTERACTIVE, INC.,                                Case No.: 2:16-cv-02932-MCE-EFB
12                 Plaintiff,
                                                            ORDER ON STIPULATION OF
13                               v.                         DISMISSAL
14    DEVICEWEAR, LLC,                                      [FRCP 41(a)(1)(A)(ii)]
15                 Defendant.
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17                 Based upon the stipulation of dismissal signed and filed by MAX INTERACTIVE, INC.
18    and DEVICEWEAR, LLC, representing all parties who have appeared in this action, the Court
19    hereby dismisses this action, with prejudice, each party to bear its own fees and costs, pursuant to
20    FRCP 41(a)(1)(A)(ii).
21                 IT IS SO ORDERED.
22    Dated: February 8, 2018
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                                           ORDER ON STIPULATION OF DISMISSAL
